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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                                      4:12CR3056

       vs.
                                                          MEMORANDUM AND ORDER
KENNAN RASHON MALLORY,

                     Defendant.


       Defendant has moved to continue the trial currently set for November 6, 2012. (Filing
No. 59). As explained in the motion, the parties are currently engaged in plea discussions. The
motion to continue is unopposed. Based on the showing set forth in the motion, the court finds
the motion should be granted. Accordingly,

       IT IS ORDERED:

       1)      Defendant’s motion to continue, (filing no. 59), is granted.

       2)     The trial of this case is set to commence before the Honorable John M. Gerrard,
              United States District Judge, in Courtroom 1, United States Courthouse, Lincoln,
              Nebraska, at 9:00 a.m. on December 11, 2012, or as soon thereafter as the case
              may be called, for a duration of five (5) trial days. Jury selection will be held at
              commencement of trial.

       3)     Based upon the showing set forth in the defendant’s motion and the
              representations of counsel, the Court further finds that the ends of justice will be
              served by continuing the trial; and that the purposes served by continuing the trial
              date in this case outweigh the interest of the defendant and the public in a speedy
              trial. Accordingly, the additional time arising as a result of the granting of the
              motion, the time between today’s date and December 11, 2012, shall be deemed
              excludable time in any computation of time under the requirements of the Speedy
              Trial Act, because despite counsel’s due diligence, additional time is needed to
              adequately prepare this case for trial and failing to grant additional time might
              result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1) & (h)(7).

       October 30, 2012.                            BY THE COURT:
                                                    s/ Cheryl R. Zwart
                                                    United States Magistrate Judge
